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                     IN THE UNITED STATES
                                     #154 DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )
v.                                               )           Criminal No. 08-30099-MJR
                                                 )
DALLAS D. HAWKINS,                               )
                                                 )
               Defendant.                        )

                            REPORT AND RECOMMENDATION

       The United States of America and the Defendant having both filed a written consent,

appeared before me pursuant to Federal Rule of Criminal Procedure 11 and SDIL Rule

72.1(b)(2). The Defendant entered a plea of guilty to Counts 1, 2, 3, and 7 of the Indictment.

Defendant also conceded the government could prove all of the elements for forfeiture of the

property sought in Count 8; accordingly, Defendant relinquished any interest he may have in that

property.

       After cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea relative to Counts 1, 2, 3, and 7 was

knowing and voluntary, and that the offenses charged are supported by an independent factual

basis containing each of the essential elements of such offenses. I similarly found that

Defendant knowingly and intelligently conceded the forfeiture of the property enumerated in

Count 8.

       I therefore recommend that the concession of forfeiture be accepted, the plea of guilty be

accepted, that a presentence investigation and report be prepared, and that the Defendant be

adjudicated guilty and have sentence imposed accordingly.

       DATED: January 23, 2009.                      s/ Clifford J. Proud
                                                     CLIFFORD J. PROUD
                                                     U. S. MAGISTRATE JUDGE

                                            NOTICE

       Failure to file a written objection to this Report and Recommendation within ten (10)
days from the date of its service shall bar an aggrieved party from attacking such Report and
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 Recommendation before the assigned U.S. District
                                           #155Judge. 28 U.S.C. 636(b)(1)(B).
